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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MARYLAND

DEBORAH LAUFER, Individually                         *
                                                     *
                Plaintiff,                           *
                                                     *
      v.                                             *      Civil No.: 1:20-cv-02136
                                                     *
NARANDA HOTELS, LLC,                                 *
a Maryland Corporation                               *
                                                     *
                Defendants.                          *

                             DEFENDANT'S MOTION TO DISMISS

       Defendant Narander Hotels, LLC, through undersigned counsel, pursuant to Fed. R. Civ.

Proc. 12(b)(1) and (6), hereby moves to dismiss the Plaintiff Deborah Laufer's Complaint on

grounds that the Court lacks subject matter jurisdiction over the claims asserted therein, and the

Complaint fails to state a claim against the Defendant upon which relief can be granted.

       1.       The Complaint seeks declaratory and injunctive relief, reimbursement for

attorneys' fees, litigation expenses and costs as the result of Defendant's alleged violation of the

Americans With Disabilities Act, 42 U. S. C., sections 12181, et seq. Plaintiff, a resident of

Pasco County, Florida, alleges that Defendant violated the Act, and 28 CFR 36.302(e), because

the materials posted on third party websites operated by booking.com, trip.com, priceline.com,

agoda.com, expedia.com, and orbitz.com did not provide "sufficient information" regarding

handicapped accessibility at the Defendant's hotel, Sleep Inn & Suites Downtown Inner Harbor

Baltimore, and did not identify or allow reservation of handicapped accessible rooms at the hotel.

       2.       The Complaint does not allege that the Defendant's hotel's website fails to provide

sufficient accessibility information or fails to allow reservation of handicapped accessible rooms.

Plaintiff does not allege that she has ever attempted to book a room at Defendant's hotel, does
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not allege that she has ever travelled to the Baltimore metropolitan area, and does not allege that

she intends to ever travel to the Baltimore metropolitan area in the future.

        3.       For the reasons set forth in the Memorandum in Support of this Motion, Plaintiff

has not alleged sufficient facts to demonstrate that she has constitutional standing to bring this

action. Plaintiff has not alleged facts demonstrating that she has or will suffer an injury in fact.

Plaintiff has not alleged an injury that is concrete, particularized and real, not abstract or

hypothetical. There are insufficient facts alleged in the Complaint to show that Plaintiff has, and

will in the future suffer a harm that is individual to her.

        4.       For the reasons set forth in the Memorandum in Support of this Motion, in the

absence of allegations that Plaintiff has and will suffer an injury in fact sufficient to satisfy

constitutional standing requirements, this Court lacks subject matter jurisdiction over the claims

asserted in the Complaint.

        5.       For the reasons set forth in the Memorandum in Support of this Motion, the

Complaint fails to state a claim upon which relief can be granted because it fails to allege facts

demonstrating that Defendant violated the Americans With Disabilities Act and the related

Federal regulations.

        WHEREFORE, Defendant Narander Hotels, LLC requests that this Court issue an Order:

        a)       Granting Defendant Narander, LLC's Motion to Dismiss Plaintiff's Complaint

without leave to amend;

        b)       Entering judgment in favor of Defendant for costs; and

        c)       Providing such other relief as the Court deems appropriate.




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                                               DECARO, DORAN, SICILIANO,
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                                       By:      /s/ Steven J. Parrott
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 29th day of September, 2020, Defendant’s Motion to

Dismiss was electronically filed and served on counsel of record for Plaintiff, and a copy emailed

and sent via first class U.S. Mail, postage prepaid to:

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